          Case 3:16-cv-01633-VAB Document 121 Filed 07/25/18 Page 1 of 5



                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT

DAVE WILLIAMS AND             :
REBA WILLIAMS,                :
                              :
           Plaintiffs,        :
                              :
     v.                       :                               Civil No.: 3:16-cv-01633-VAB
                              :
RANDALL BEAN, ELIZABETH BLACK :
BEAN, CHRISTOPHER BEAN, AND   :
MATTHEW BEAN,                 :                               JULY 25, 2018
                              :
           Defendants.        :


               MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
              MOTION FOR LEAVE TO FILE AMENDED COUNTERCLAIMS

        Defendants and Counterclaim Plaintiffs, Randal Bean, Elizabeth Black Bean, Christopher

Bean and Matthew Bean1 (collectively, the “Defendants” and/or “the Bean Family”), respectfully

submit this memorandum of law in support of their motion pursuant to Federal Rule of Civil

Procedure 15 for leave to amend their counterclaims in this action. A copy of the proposed

Answer and Amended Counterclaims is attached as Exhibit A to the Motion for Leave to

Amend.

                                             Procedural History

        On August 31, 2016, Plaintiffs and Counterclaim Defendants Dave and Reba Williams

(collectively, the “Plaintiffs” and/or “the Williams”) commenced this action by filing suit against

the Bean Family in Connecticut state court. Dkt. No. 1-2. The Bean Family properly removed




1
         Because Plaintiffs’ dismissed all claims against Matthew Bean, see Stipulated Dismissal, Dkt. No. 117,
July 23, 2018, Matthew Bean remains in this case solely as a Counterclaim Plaintiff.
          Case 3:16-cv-01633-VAB Document 121 Filed 07/25/18 Page 2 of 5



this case to this Court on September 29, 2016, Dkt. No. 1, and Answered the Complaint and

Counterclaimed against the Plaintiffs on October 20, 2016. Dkt. No. 26.2

        After the Bean Family amended their Counterclaims, with the Court’s permission, on

April 7, 2017, Dkt. No. 41, the Plaintiffs moved to dismiss the Amended Counterclaims on June

28, 2017. Dkt. No. 57. After hearing argument on the Plaintiffs’ Motion to Dismiss the Bean

Family’s Counterclaims on September 14, 2017, Dkt. No. 72, the Court dismissed Count One of

the Bean Family’s Counterclaims for Abuse of Process because it “fail[ed] for want of maturity,”

Dkt. No. 80 at 19 n.5, because Plaintiffs’ underlying claims against the Defendants had not yet

been resolved.3

        On July 23, 2018, Plaintiffs filed a “Stipulation of Discontinuance with Prejudice Solely

as to Plaintiff’s [sic] Claims as Against Matthew Bean.” Dkt. No. 117. The Stipulation noted that

the Bean Family’s Counterclaims were still in force, including those of Matthew Bean.

Stipulation at 1 (“[N]othing in this Stipulation is intended to release or otherwise waive . . . any

and all of Plaintiffs’ defenses as to each of the Defendants’ counterclaims in this action

including, without limitation, as to the counterclaims brought by M. Bean in this action against

Plaintiffs.”).




2
         The Bean Family Counterclaimed for (Count 1) Abuse of Process, (Count 2) Invasion of Privacy, (Count 3)
Defamation, (Count 4) Absolute Private Nuisance, (Count 5) Negligent Private Nuisance, (Count 6) Violation of
Conn. Gen. Stat. § 52-570 (Spite Fence), (Count 7) Violation of Conn. Gen. Stat. § 52-480 (Spite Fence Injunction),
and (Count 8) Private Enforcement Action: Violation of Zoning Regulations.
3
         In addition, the Court dismissed Counts Six, Seven, and Eight as regards Christopher Bean and Matthew
Bean because those counts required the Counterclaim Plaintiff to be a property owner, which Christopher and
Matthew Bean admittedly were not. Id. at 31, 33. After the Court’s Order on Plaintiffs’ Motion to Dismiss, the Bean
Family’s Counterclaims that survived include (Count 2) Invasion of Privacy, (Count 3) Defamation, (Count 4)
Absolute Private Nuisance, (Count 5) Negligent Private Nuisance, (Count 6) Violation of Conn. Gen. Stat. § 52-570
(Spite Fence), (Count 7) Violation of Conn. Gen. Stat. § 52-480 (Spite Fence Injunction), and (Count 8) Private
Enforcement Action: Violation of Zoning Regulations, with the last three only being asserted by Randall Bean and
Elizabeth Black.



                                                       -2-
         Case 3:16-cv-01633-VAB Document 121 Filed 07/25/18 Page 3 of 5



                                        Legal Standard

       Federal Rule of Civil Procedure 15(a)(2) provides, in relevant part, that “a party may

amend its pleadings . . . with . . . the court’s leave.” “The court should freely give leave [to

amend] when justice so requires.” Fed. R. Civ. P 15(a)(2); see also Foman v. Davis, 371 U.S.

178, 182 (1962); Aetna Cas. & Sur. Co. v. Aniero Concrete Co., 404 F.3d 566, 604 (2d Cir.

2005). “The purpose of Rule 15 is to provide maximum opportunity for each claim to be decided

on its merits rather than on procedural technicalities.” Slayton v. Am. Express Co., 460 F.3d 215,

228 (2d Cir. 2006) (internal quotations omitted). A motion to amend should be denied only for

such reasons as “undue delay, bad faith, futility of the amendment,” and “resulting prejudice to

the opposing party.” State Teachers Ret. Bd. v. Fluor Corp., 654 F.2d 843, 856 (2d Cir. 1981);

see also Lee v. Regal Cruises, Ltd., 916 F. Supp. 300, 303 (S.D.N.Y. 1996), aff’d, 116 F.3d 465

(2d Cir. 1997), citing Foman, supra, 371 U.S. at 182. None of these factors is present here, and

Defendant’s motion should therefore be granted.

       First, Matthew Bean’s causes of action for common law and statutory vexatious

litigation and abuse of process only became ripe on July 23, 2018, when Plaintiffs

dismissed all causes of action against him with prejudice, resulting in the favorable

termination of suit against him. Thus, there is no delay whatever, and certainly no undue

delay. Second, Matthew Bean evinces no bad faith in adding these counterclaims. They

are both procedurally proper, see Rogan v. Rungee, 165 Conn. App. 209, 220 (2016), and

substantively appropriate. Third, the amendment would not be futile, but rather would

add substantive causes of action against Plaintiffs, who have vexatiously pursued suit

against Matthew Bean. Finally, there will be no prejudice to the Plaintiffs. There will be

no effect on the pending motions for summary judgment, no further discovery will be




                                               -3-
         Case 3:16-cv-01633-VAB Document 121 Filed 07/25/18 Page 4 of 5



required, and Plaintiffs will have the opportunity to respond to the amended

counterclaims at the appropriate time.

       For all of the above reasons, Defendant Matthew Bean respectfully requests that

this Court grant his Motion to Amend his Counterclaims.


Dated: July 25, 2018                 Respectfully submitted,


                                         By: /s/ James R. Nault
                                              Joseph L. Clasen (ct04090)
                                              James R. Nault (ct29500)
                                              Robinson & Cole LLP
                                              280 Trumbull Street
                                              Hartford, CT 06103
                                              Telephone: (860) 275-8200
                                              Fax: (860) 275-8299
                                              Email: jnault@rc.com
                                              jclasen@rc.com


                                             COUNSEL FOR THE
                                             DEFENDANTS/COUNTERCLAIM PLAINTIFFS
                                             RANDALL BEAN, ELIZABETH BLACK,
                                             CHRISTOPHER BEAN, AND MATTHEW BEAN.




                                                 -4-
         Case 3:16-cv-01633-VAB Document 121 Filed 07/25/18 Page 5 of 5



                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 25, 2018, a copy of the foregoing was filed electronically

and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent

by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

access this filing through the Court’s CM/ECF System.




                                                        /s/ James R. Nault
                                                        James R. Nault




                                                -5-
